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                                                                 1
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                                                                 2    Shawn Miller, Esq.
                                                                 3
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                                                                      KRIEGER LAW GROUP, LLC
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                                                                      Henderson, Nevada 89052
                                                                 6
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                                                                 7    Email: dkrieger@kriegerlawgroup.com
                                                                      Email: smiller@kriegerlawgroup.com
                                                                 8

                                                                 9    Attorney for Plaintiff
                                                                 10
                                                                      William Berry, Jr

                                                                 11                        UNITED STATES DISTRICT COURT
                                                                                                DISTRICT OF NEVADA
KRIEGER LAW GROUP, LLC
                         2850 W. Horizon Ridge Pkwy, Suite 200




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                               Henderson, Nevada 89052




                                                                 13
                                                                                                                 :
                                                                 14    WILLIAM BERRY, JR,                        :
                                                                                                                 :
                                                                 15
                                                                                           Plaintiff,            : Civil Action No.: ______
                                                                 16          v.                                  :
                                                                 17                                              :
                                                                       AARGON AGENCY, INC;                       :
                                                                 18    PLUSFOUR, INC; QUANTUM                    :
                                                                 19    COLLECTIONS; AND RICHLAND                 : COMPLAINT
                                                                       HOLDINGS, INC DBA                         :
                                                                 20
                                                                       ACCOUNTCORP OF SOUTHERN                   :
                                                                 21    NEVADA,                                   :
                                                                                                                 :
                                                                 22
                                                                                           Defendants.           :
                                                                 23
                                                                            For this Complaint, Plaintiff William Berry, Jr, by undersigned counsel,
                                                                 24

                                                                 25   states as follows:
                                                                 26

                                                                 27                                      JURISDICTION
                                                                 28         1.     This action arises out of repeated violations of the Fair Debt
                                                                            Case 2:20-cv-02144-APG-EJY Document 1 Filed 11/21/20 Page 2 of 18




                                                                      Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the illegal
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                                                                 2    harassment of Plaintiff in efforts to collect consumer debts.
                                                                 3
                                                                            2.     Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.
                                                                 4

                                                                 5          3.     Venue is proper in the U.S. District Court for the District of Nevada
                                                                 6
                                                                      pursuant to 28 U.S.C. § 1391(b), as Defendants transact business in the State of
                                                                 7
                                                                      Nevada.
                                                                 8

                                                                 9                                         PARTIES
                                                                 10
                                                                            4.     Plaintiff William Berry, Jr (“Plaintiff”) is an adult individual residing
                                                                 11
                                                                      in Las Vegas, Nevada, and is a “consumer” as the term is defined by 15 U.S.C. §
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                                                                 13
                                                                      1692a(3).
                                                                 14

                                                                 15         5.     Defendant Aargon Agency, Inc (“Aargon”) is doing business in the
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                                                                      State of Nevada as a business entity operating as a collection agency, and is a “debt
                                                                 17

                                                                 18
                                                                      collector” as the term is defined by 15 U.S.C. § 1692a(6).

                                                                 19         6.     Defendant Plusfour, Inc (“Plusfour”) is doing business in the State of
                                                                 20
                                                                      Nevada as a business entity operating as a collection agency, and is a “debt
                                                                 21

                                                                 22   collector” as the term is defined by 15 U.S.C. § 1692a(6).
                                                                 23
                                                                            7.     Defendant Quantum Collections (“Quantum”) is doing business in
                                                                 24

                                                                 25
                                                                      the State of Nevada as a business entity operating as a collection agency, and is a

                                                                 26   “debt collector” as the term is defined by 15 U.S.C. § 1692a(6).
                                                                 27
                                                                            8.     Defendant Richland Holdings, Inc dba Accountcorp of Southern
                                                                 28
                                                                              Case 2:20-cv-02144-APG-EJY Document 1 Filed 11/21/20 Page 3 of 18




                                                                      Nevada (“Richland”) is doing business in the State of Nevada as a business entity
                                                                 1

                                                                 2    operating as a collection agency, and is a “debt collector” as the term is defined by
                                                                 3
                                                                      15 U.S.C. § 1692a(6).
                                                                 4

                                                                 5                  AARGON’S FDCPA VIOLATIONS ON PLAINTIFF’S
                                                                 6                                   EXPERIAN REPORT
                                                                 7            9.    Plaintiff allegedly incurred a financial obligation (“Preventive Debt”)
                                                                 8
                                                                      to Preventive Pest Management (“Preventive”).
                                                                 9

                                                                 10           10.   The Preventive Debt arose from services provided by Preventive
                                                                 11
                                                                      which were primarily for family, personal or household purposes and which meets
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                                                                 12
                                                                      the definition of a “debt” under 15 U.S.C. § 1692a(5).
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                                                                 14           11.   The Preventive Debt was purchased, assigned or transferred to Aargon
                                                                 15
                                                                      for collection, or Aargon was employed by Preventive to collect the Preventive
                                                                 16

                                                                 17   Debt.
                                                                 18
                                                                              12.   Aargon attempted to collect the Preventive Debt and, as such, engaged
                                                                 19
                                                                      in “communications” as defined in 15 U.S.C. § 1692a(2).
                                                                 20

                                                                 21           13.   While Plaintiff did incur the Preventive Debt, Plaintiff paid it to
                                                                 22
                                                                      Preventive in its entirety. Plaintiff had no responsibility for the Preventive Debt at
                                                                 23

                                                                 24   the time Aargon engaged in its collection efforts.
                                                                 25
                                                                              14.   In an Experian credit report dated July 24, 2020, Aargon inaccurately
                                                                 26
                                                                      reported Plaintiff owed a past due amount of $352 on the Preventive Debt (as seen
                                                                 27

                                                                 28   below) when, in fact, Plaintiff owed $0.
                                                                            Case 2:20-cv-02144-APG-EJY Document 1 Filed 11/21/20 Page 4 of 18




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                                                                            15.    Since Plaintiff did not owe the Preventive Debt, it was not only
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                                                                 14
                                                                      inaccurate and misleading to report any past due balance or any account in

                                                                 15   collections, it was blatantly false.
                                                                 16

                                                                 17               AARGON’S FDCPA VIOLATIONS ON PLAINTIFF’S
                                                                 18                                 TRANSUNION REPORT
                                                                 19
                                                                            16.    In a TransUnion credit report dated July 28, 2020, Aargon
                                                                 20

                                                                 21   inaccurately reported Plaintiff owed a past due amount of $352 on the Preventive
                                                                 22
                                                                      Debt (as seen below) when, in fact, Plaintiff owed $0.
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                                                                 28         17.    Since Plaintiff did not owe the Preventive Debt, it was not only
                                                                            Case 2:20-cv-02144-APG-EJY Document 1 Filed 11/21/20 Page 5 of 18




                                                                      inaccurate and misleading to report any past due balance or any account in
                                                                 1

                                                                 2    collections, it was blatantly false.
                                                                 3

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                                                                                  PLUSFOUR’S FDCPA VIOLATIONS ON PLAINTIFF’S
                                                                                                      EQUIFAX REPORT
                                                                 5

                                                                 6                                    The Optumcare Debt
                                                                 7          18.    Plaintiff allegedly incurred a financial obligation (“Optumcare Debt”)
                                                                 8
                                                                      to Optumcare Lung Allergy Care (“Optumcare”).
                                                                 9

                                                                 10         19.    The Optumcare Debt arose from services provided by Optumcare
                                                                 11
                                                                      which were primarily for family, personal or household purposes and which meets
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                                                                 12
                                                                      the definition of a “debt” under 15 U.S.C. § 1692a(5).
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                                                                 13

                                                                 14         20.    The Optumcare Debt was purchased, assigned or transferred to
                                                                 15
                                                                      Plusfour for collection, or Plusfour was employed by Optumcare to collect the
                                                                 16

                                                                 17   Optumcare Debt.
                                                                 18
                                                                            21.    Plusfour attempted to collect the Optumcare Debt and, as such,
                                                                 19

                                                                 20
                                                                      engaged in “communications” as defined in 15 U.S.C. § 1692a(2).

                                                                 21         22.    While Plaintiff did incur the Optumcare Debt, Plaintiff’s insurance
                                                                 22
                                                                      provider took full responsibility for the Optumcare Debt. Plaintiff had no
                                                                 23

                                                                 24   responsibility for the Optumcare Debt above any copay he would have rendered at
                                                                 25
                                                                      the time services were provided.
                                                                 26

                                                                 27
                                                                            23.    In an Equifax credit report dated July 25, 2020, Plusfour inaccurately

                                                                 28   reported Plaintiff owed a balance of $451 on the Optumcare Debt (as seen below)
                                                                            Case 2:20-cv-02144-APG-EJY Document 1 Filed 11/21/20 Page 6 of 18




                                                                      when, in fact, Plaintiff owed $0.
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                                                                 4          24.    Since Plaintiff did not owe the Optumcare Debt, it was not only
                                                                 5
                                                                      inaccurate and misleading to report any past due balance or any account in
                                                                 6
                                                                      collections, it was blatantly false.
                                                                 7

                                                                 8
                                                                                                   The Desert Radiology Debt
                                                                 9

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                                                                            25.    Plaintiff allegedly incurred a financial obligation (“Desert Debt”) to
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                                                                      Desert Radiology (“Desert”).
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                                                                 13
                                                                            26.    The Desert Debt arose from services provided by Desert which were
                                                                 14

                                                                 15   primarily for family, personal or household purposes and which meets the
                                                                 16
                                                                      definition of a “debt” under 15 U.S.C. § 1692a(5).
                                                                 17

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                                                                            27.    The Desert Debt was purchased, assigned or transferred to Plusfour

                                                                 19   for collection, or Plusfour was employed by Desert to collect the Desert Debt.
                                                                 20
                                                                            28.    Plusfour attempted to collect the Desert Debt and, as such, engaged in
                                                                 21

                                                                 22   “communications” as defined in 15 U.S.C. § 1692a(2).
                                                                 23
                                                                            29.    While Plaintiff did incur the Desert Debt, Plaintiff’s insurance
                                                                 24

                                                                 25
                                                                      provider took full responsibility for the Desert Debt. Plaintiff had no responsibility

                                                                 26   for the Desert Debt above any copay he would have rendered at the time services
                                                                 27
                                                                      were provided.
                                                                 28
                                                                            Case 2:20-cv-02144-APG-EJY Document 1 Filed 11/21/20 Page 7 of 18




                                                                            30.    In an Equifax credit report dated July 25, 2020, Plusfour inaccurately
                                                                 1

                                                                 2    reported Plaintiff owed a balance of $114 on the Desert Debt (as seen below)
                                                                 3
                                                                      when, in fact, Plaintiff owed $0.
                                                                 4

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                                                                            31.    Since Plaintiff did not owe the Desert Debt, it was not only inaccurate
                                                                 7

                                                                 8    and misleading to report any past due balance or any account in collections, it was
                                                                 9
                                                                      blatantly false.
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                                                                                  PLUSFOUR’S FDCPA VIOLATIONS ON PLAINTIFF’S
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                                                                                                    EXPERIAN REPORT
                               Henderson, Nevada 89052




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                                                                 14                                  The Optumcare Debt
                                                                 15
                                                                            32.    In an Experian credit report dated July 24, 2020, Plusfour inaccurately
                                                                 16

                                                                 17   reported Plaintiff owed a past due amount of $451 on the Optumcare Debt (as seen
                                                                 18   below) when, in fact, Plaintiff owed $0.
                                                                 19

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                                                                            33.    Since Plaintiff did not owe the Optumcare Debt, it was not only
                                                                            Case 2:20-cv-02144-APG-EJY Document 1 Filed 11/21/20 Page 8 of 18




                                                                      inaccurate and misleading to report any past due balance or any account in
                                                                 1

                                                                 2    collections, it was blatantly false.
                                                                 3

                                                                 4                                 The Desert Radiology Debt
                                                                 5

                                                                 6          34.    In an Experian credit report dated July 24, 2020, Plusfour inaccurately
                                                                 7
                                                                      reported Plaintiff owed a past due amount of $114 on the Desert Debt (as seen
                                                                 8

                                                                 9    below) when, in fact, Plaintiff owed $0.
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                                                                            35.    Since Plaintiff did not owe the Desert Debt, it was not only inaccurate
                                                                 19

                                                                 20   and misleading to report any past due balance or any account in collections, it was
                                                                 21
                                                                      blatantly false.
                                                                 22

                                                                 23               PLUSFOUR’S FDCPA VIOLATIONS ON PLAINTIFF’S
                                                                 24                                 TRANSUNION REPORT
                                                                 25
                                                                                                      The Optumcare Debt
                                                                 26
                                                                            36.    In a TransUnion credit report dated July 28, 2020, Plusfour
                                                                 27

                                                                 28   inaccurately reported Plaintiff owed a past due amount of $451 on the Optumcare
                                                                            Case 2:20-cv-02144-APG-EJY Document 1 Filed 11/21/20 Page 9 of 18




                                                                      Debt (as seen below) when, in fact, Plaintiff owed $0.
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                                                                 7          37.    In two subsequent TransUnion reports, Plusfour again reported
                                                                 8
                                                                      Plaintiff had a past due balance on the Optumcare Debt, this time $455.
                                                                 9

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                                                                            38.    Since Plaintiff did not owe the Optumcare Debt, it was not only
                                                                 23

                                                                 24   inaccurate and misleading to report any past due balance or any account in
                                                                 25
                                                                      collections, it was blatantly false.
                                                                 26

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                                                                                                   The Desert Radiology Debt
                                                                 28
                                                                           Case 2:20-cv-02144-APG-EJY Document 1 Filed 11/21/20 Page 10 of 18




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                                                                            39.    In a TransUnion credit report dated July 28, 2020, Plusfour
                                                                 2

                                                                 3    inaccurately reported Plaintiff owed a past due amount of $114 on the Desert Debt
                                                                 4
                                                                      (as seen below) when, in fact, Plaintiff owed $0.
                                                                 5

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                                                                            40.    Since Plaintiff did not owe the Desert Debt, it was not only inaccurate
                                                                 11
                                                                      and misleading to report any past due balance or any account in collections, it was
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                                                                 12
                               Henderson, Nevada 89052




                                                                 13   blatantly false.
                                                                 14

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                                                                                  QUANTUM’S FDCPA VIOLATIONS ON PLAINTIFF’S

                                                                 16
                                                                                                  TRANSUNION REPORT

                                                                 17                                 The West Valley Debt
                                                                 18

                                                                 19         41.    Plaintiff allegedly incurred a financial obligation (“West Valley
                                                                 20
                                                                      Debt”) to West Valley Imaging (“West Valley”).
                                                                 21

                                                                 22         42.    The West Valley Debt arose from services provided by West Valley
                                                                 23   which were primarily for family, personal or household purposes and which meets
                                                                 24
                                                                      the definition of a “debt” under 15 U.S.C. § 1692a(5).
                                                                 25

                                                                 26         43.    The West Valley Debt was purchased, assigned or transferred to
                                                                 27
                                                                      Quantum for collection, or Quantum was employed by West Valley to collect the
                                                                 28
                                                                           Case 2:20-cv-02144-APG-EJY Document 1 Filed 11/21/20 Page 11 of 18




                                                                      West Valley Debt.
                                                                 1

                                                                 2          44.    Quantum attempted to collect the West Valley Debt and, as such,
                                                                 3
                                                                      engaged in “communications” as defined in 15 U.S.C. § 1692a(2).
                                                                 4

                                                                 5          45.    While Plaintiff did incur the West Valley Debt, Plaintiff’s insurance
                                                                 6
                                                                      provider took full responsibility for the West Valley Debt. Plaintiff had no
                                                                 7
                                                                      responsibility for the West Valley Debt above any copay he would have rendered
                                                                 8

                                                                 9    at the time services were provided.
                                                                 10
                                                                            46.    In a TransUnion credit report dated July 28, 2020, Quantum
                                                                 11
                                                                      inaccurately reported Plaintiff owed a past due amount of $615 on the West Valley
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                               Henderson, Nevada 89052




                                                                 13
                                                                      Debt (as seen below) when, in fact, Plaintiff owed $0.
                                                                 14

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                                                                 19         47.    Since Plaintiff did not owe the West Valley Debt, it was not only
                                                                 20
                                                                      inaccurate and misleading to report any past due balance or any account in
                                                                 21

                                                                 22   collections, it was blatantly false.
                                                                 23

                                                                 24                                      The Ageless Debt
                                                                 25

                                                                 26         48.    Plaintiff allegedly incurred a financial obligation (“Ageless Debt”) to
                                                                 27
                                                                      Ageless Men’s Health (“Ageless”).
                                                                 28
                                                                           Case 2:20-cv-02144-APG-EJY Document 1 Filed 11/21/20 Page 12 of 18




                                                                            49.    The Ageless Debt arose from services provided by Ageless which
                                                                 1

                                                                 2    were primarily for family, personal or household purposes and which meets the
                                                                 3
                                                                      definition of a “debt” under 15 U.S.C. § 1692a(5).
                                                                 4

                                                                 5          50.    The Ageless Debt was purchased, assigned or transferred to Quantum
                                                                 6
                                                                      for collection, or Quantum was employed by Ageless to collect the Ageless Debt.
                                                                 7
                                                                            51.    Quantum attempted to collect the Ageless Debt and, as such, engaged
                                                                 8

                                                                 9    in “communications” as defined in 15 U.S.C. § 1692a(2).
                                                                 10
                                                                            52.    While Plaintiff did incur the Ageless Debt, Plaintiff’s insurance
                                                                 11
                                                                      provider took full responsibility for the Ageless Debt. Plaintiff had no
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                                                                 13
                                                                      responsibility for the Ageless Debt above any copay he would have rendered at the
                                                                 14
                                                                      time services were provided.
                                                                 15

                                                                 16         53.    In a TransUnion credit report dated July 28, 2020, Quantum
                                                                 17
                                                                      inaccurately reported Plaintiff owed a past due amount of $267 on the Ageless
                                                                 18

                                                                 19   Debt (as seen below) when, in fact, Plaintiff owed $0.
                                                                 20

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                                                                            54.    Since Plaintiff did not owe the Ageless Debt, it was not only
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                                                                 26   inaccurate and misleading to report any past due balance or any account in
                                                                 27
                                                                      collections, it was blatantly false.
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                                                                           Case 2:20-cv-02144-APG-EJY Document 1 Filed 11/21/20 Page 13 of 18




                                                                                  RICHLAND’S FDCPA VIOLATIONS ON PLAINTIFF’S
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                                                                                                    EQUIFAX REPORT
                                                                 2

                                                                 3                                The Las Vegas Sinus Debt
                                                                 4          55.    Plaintiff allegedly incurred a financial obligation (“Las Vegas Sinus
                                                                 5
                                                                      Debt”) to Las Vegas Sinus (“Las Vegas Sinus”).
                                                                 6

                                                                 7          56.    The Las Vegas Sinus Debt arose from services provided by Las Vegas
                                                                 8
                                                                      Sinus which were primarily for family, personal or household purposes and which
                                                                 9
                                                                      meets the definition of a “debt” under 15 U.S.C. § 1692a(5).
                                                                 10

                                                                 11         57.    The Las Vegas Sinus Debt was purchased, assigned or transferred to
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                                                                 12
                                                                      Richland for collection, or Richland was employed by Las Vegas Sinus to collect
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                                                                 13

                                                                 14   the Las Vegas Sinus Debt.
                                                                 15
                                                                            58.    Richland attempted to collect the Las Vegas Sinus Debt and, as such,
                                                                 16
                                                                      engaged in “communications” as defined in 15 U.S.C. § 1692a(2).
                                                                 17

                                                                 18         59.    While Plaintiff did incur the Las Vegas Sinus Debt, Plaintiff’s
                                                                 19
                                                                      insurance provider took full responsibility for the Las Vegas Sinus Debt. Plaintiff
                                                                 20

                                                                 21   had no responsibility for the Las Vegas Sinus Debt above any copay he would
                                                                 22
                                                                      have rendered at the time services were provided.
                                                                 23
                                                                            60.    In an Equifax credit report dated July 25, 2020, Richland inaccurately
                                                                 24

                                                                 25   reported Plaintiff owed a balance of $3,731 on the Las Vegas Sinus Debt (as seen
                                                                 26
                                                                      below) when, in fact, Plaintiff owed $0.
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                                                                           Case 2:20-cv-02144-APG-EJY Document 1 Filed 11/21/20 Page 14 of 18




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                                                                            61.    Since Plaintiff did not owe the Las Vegas Sinus Debt, it was not only
                                                                 3

                                                                 4    inaccurate and misleading to report any past due balance or any account in
                                                                 5    collections, it was blatantly false.
                                                                 6

                                                                 7                RICHLAND’S FDCPA VIOLATIONS ON PLAINTIFF’S
                                                                 8                                    EXPERIAN REPORT
                                                                 9                                  The Las Vegas Sinus Debt
                                                                 10
                                                                            62.    In an Experian credit report dated July 24, 2020, Richland (under the
                                                                 11
                                                                      name Accountcorp of Southern Nevada) inaccurately reported Plaintiff owed a past
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                                                                 13   due amount of $3,731 on the Las Vegas Sinus Debt (as seen below) when, in fact,
                                                                 14
                                                                      Plaintiff owed $0.
                                                                 15

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                                                                            63.    Since Plaintiff did not owe the Las Vegas Sinus Debt, it was not only
                                                                 22

                                                                 23   inaccurate and misleading to report any past due balance or any account in
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                                                                      collections, it was blatantly false.
                                                                 25

                                                                 26               RICHLAND’S FDCPA VIOLATIONS ON PLAINTIFF’S
                                                                 27                                 TRANSUNION REPORT
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                                                                           Case 2:20-cv-02144-APG-EJY Document 1 Filed 11/21/20 Page 15 of 18




                                                                                                 The Las Vegas Sinus Debt
                                                                 1

                                                                 2          64.   In a TransUnion credit report dated July 28, 2020, Richland (under the
                                                                 3
                                                                      name Accountcorp of Southern Nevada) inaccurately reported Plaintiff owed a past
                                                                 4
                                                                      due amount of $3,731 on the Las Vegas Sinus Debt (as seen below) when, in fact,
                                                                 5

                                                                 6    Plaintiff owed $0.
                                                                 7

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                                                                            65.   In two subsequent TransUnion reports, Richland again reported
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                                                                 13
                                                                      Plaintiff had a past due balance of $3,731 on the Las Vegas Sinus Debt.
                                                                 14

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                                                                            66.   Since Plaintiff did not owe the Las Vegas Sinus Debt, it was not only
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                                                                 28
                                                                      inaccurate and misleading to report any past due balance or any account in
                                                                           Case 2:20-cv-02144-APG-EJY Document 1 Filed 11/21/20 Page 16 of 18




                                                                      collections, it was blatantly false.
                                                                 1

                                                                 2
                                                                                                   COUNT I
                                                                 3
                                                                                  VIOLATIONS OF THE FDCPA - 15 U.S.C. § 1692, et seq.
                                                                 4

                                                                 5
                                                                            67.     Plaintiff incorporates by reference all of the above paragraphs of this
                                                                 6

                                                                 7    Complaint as though fully stated herein.
                                                                 8
                                                                            68.     Defendants’ conduct violated 15 U.S.C. § 1692e(8) in that Defendants
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                                                                      communicated or threatened to communicate false credit information, including
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                                                                 11   the failure to communicate that the various Debts were “disputed”, in an attempt to
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                                                                 12
                                                                      collect a debt.
                               Henderson, Nevada 89052




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                                                                 14         69.     The foregoing acts and omissions of Defendants constitute numerous
                                                                 15
                                                                      and multiple violations of the FDCPA, including every one of the above-cited
                                                                 16
                                                                      provisions.
                                                                 17

                                                                 18         70.     Plaintiff is entitled to damages as a result of Defendants’ violations.
                                                                 19
                                                                            71.     Plaintiff has been required to retain the undersigned as counsel to
                                                                 20

                                                                 21   protect her legal rights to prosecute this cause of action, and is therefore entitled to
                                                                 22
                                                                      an award of reasonable attorneys’ fees plus costs incurred.
                                                                 23

                                                                 24                                 PRAYER FOR RELIEF
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                                                                            Case 2:20-cv-02144-APG-EJY Document 1 Filed 11/21/20 Page 17 of 18




                                                                             WHEREFORE, Plaintiff prays that judgment be entered against Defendants
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                                                                 2    Aargon Agency, Inc; Plusfour, Inc; Quantum Collections; and Richland Holdings,
                                                                 3
                                                                      Inc dba Accountcorp of Southern Nevada, awarding Plaintiff:
                                                                 4

                                                                 5
                                                                                                     COUNT I.
                                                                 6                           VIOLATIONS OF 15 U.S.C. § 1692
                                                                 7

                                                                 8
                                                                              1. actual damages including, but not limited to, the emotional distress

                                                                 9               Plaintiff has suffered (and continues to suffer) as a result of the
                                                                 10
                                                                                 intentional, reckless, and/or negligent FDCPA violations pursuant to 15
                                                                 11
KRIEGER LAW GROUP, LLC




                                                                                 U.S.C. § 1692k(a)(1);
                         2850 W. Horizon Ridge Pkwy, Suite 200




                                                                 12
                               Henderson, Nevada 89052




                                                                 13
                                                                              2. statutory damages of $1,000.00 pursuant to 15 U.S.C. §
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                                                                 15
                                                                                 1692k(a)(2)(A);

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                                                                            3. punitive damages; and
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                                                                 2          4. any other and further relief that the Court may deem just and proper.
                                                                 3

                                                                 4
                                                                                 TRIAL BY JURY DEMANDED ON ALL COUNTS

                                                                 5    Dated: November 21, 2020
                                                                 6
                                                                                                          Respectfully submitted,
                                                                 7

                                                                 8                                        By     /s/ David Krieger, Esq.
                                                                 9
                                                                                                                 David Krieger, Esq.
                                                                                                                 Nevada Bar No. 9086
                                                                 10                                              Shawn Miller, Esq.
                                                                 11                                              Nevada Bar No. 7825
                                                                                                                 KRIEGER LAW GROUP, LLC
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                                                                                                                 Phone: (702) 848-3855
                                                                 15                                              Email: dkrieger@kriegerlawgroup.com
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                                                                                                                 Email: smiller@kriegerlawgroup.com

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